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                 VWRSZHZHUHRQ.HUQRQWKHEORFNRI1RUWK.HUQUHJDUGLQJDGLVWXUEDQFH

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                IRXUGRRUYHKLFOHROGHUPRGHO,WKLQNLWZDVDQ$XGL&RXOGQ WWHOOZKRZDVLQVLGHEXW

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                YHKLFOHEXWWRQWRUXQWKHSODWH,UHPHPEHUUXQQLQJWKHSODWHDQG,ZDVWHOOLQJP\

                SDUWQHUWKHUHWXUQWKHDGGUHVVLWFDPHEDFNWRWKHUHJLVWHUHGRZQHUDQGWKHQ,WKLQN

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                 PRXWKLQJRII+HZDVQRWUHVLVWLQJEXWKHZDVMXVWTXHVWLRQLQJHYHU\WKLQJ:K\ZDVKH

                 VWRSSHG":K\ZHUHZHDVNLQJKLPTXHVWLRQV"6WXIIOLNHWKDW:KHQWKDWKDSSHQV,

                 XVXDOO\WU\WRNHHSWKHSDVVHQJHUVRUZKRHYHU VLQYROYHG,WU\WRNHHSWKHPDZD\IURP

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                DVNLQJKLPEDVLFTXHVWLRQVDQGNLQGRIWROGKLPDOO+H\ZKDW V\RXUQDPH":KHUH

                DUH\RXJX\VFRPLQJIURP":KHUHDUH\RXJX\VJRLQJ"$UH\RXJX\VIURPDURXQG

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                +HVDLG,GRQ WNQRZ2QHRIWKHWKLQJVWKDWNLQGRIWKUHZPHRIIZDVWKDWZKHQ,ZDV




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                VREULHW\LQYHVWLJDWLRQ:HFRXOGVPHOOPDULMXDQDLQWKHFDU3XOOHGKLPRXWRIWKHFDU

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                JUDELWKHZRXOGWU\WRWXUQLWRQWXUQLWRII+HWULHGWRUHDFKIRUKLVJORYHFRPSDUWPHQW

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                 FDXVHDQ\SUREOHPV, PVRUU\IRUP\IULHQG+H VDQLGLRW7KHQ,UHPHPEHUP\

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                        6R,KDGKLP,WROGKLP+H\OLVWHQ, PJRLQJWRKDYH\RXVWHSRXWRIWKH

                 YHKLFOH, PJRLQJWRWDONWR\RXRXWKHUH,LQVWUXFWHGKLPWRWDNHRIIKLVVHDWEHOWDQG,

                 KHOGRQWRKLVOHIWDUPRUWRKLVULJKWDUP+HUHPRYHGWKHVHDWEHOW,JDYHKLP

                 VSHFLILFLQVWUXFWLRQV7KLVZKROHWLPHKHZDVSHUFHQWFRPSOLDQW-XVWWKHRQO\WKLQJ

                 WKDWWKUHZPHRIIZDVKLVGHOD\HGUHVSRQVHDQGWKHIDFWKHFRXOGQ WVWD\VWLOO7KDW

                 PDGHPHNLQGRIQHUYRXV,NQHZVRPHWKLQJZDVXS,MXVWGLGQ WNQRZZKDWLWZDV

                $QG,GLGQ WVHHDQ\VLJQVRULQGLFDWRUV,KDGDVNHGKLPOLNH,VDLGLIKHKDVDQ\LOOHJDO

                DQGKHVDLG+HMXVWKDVVRPHZHHGRQKLP,KDGKLPH[LWWKHYHKLFOH+HSODFHG

                KLVKDQGVEHKLQGKLVEDFNZLWKRXWUHVLVWDQFH,WROGKLPWRSXWKLVSDOPVWRJHWKHU

                LQWHUODFHKLVILQJHUV,UHPHPEHUJULSSLQJRQWRKLVKLVKDQGVDQG,ZDONHGKLP,IHHO

                OLNHDUHDOTXLFN

                      48,17(52:KHUHGLG\RXZDONKLPWR"

                      6$$9('5$%HIRUHZDONLQJKLPWRWKHWRWKHKRRGRIWKHFDU,UHPHPEHU

                GRLQJOLNHDTXLFNSDWGRZQRIKLVZDLVWEDQGIRUZHDSRQV,GLGQ WIHHODQ\WKLQJ,

                ZDONHGKLPRYHUWRWKHKRRGRIP\P\FDU

                      48,17(527KHIURQWRUWKHVLGH"

                      6$$9('5$7KHIURQWVLGHWKHVLGHE\WKHWLUH

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                      6$$9('5$<HDK

                      48,17(52%\WKHULJKWZKHHOZHOORUWKHULJKWSDVVHQJHUVLGHIHQGHU"

                      6$$9('5$<HVVLU




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                          6$$9('5$7KHZKROHWLPHOLNH,VDLGFRRSHUDWLYH, PVRUU\$SRORJHWLF

                 , PVRUU\VLU, PVRUU\VLU,W VQRSUREOHP\RXNQRZVRUU\IRUP\IULHQG+H VDQ

                 LGLRW+HNHSWWHOOLQJPHVWXII6R,VWDUWWDNLQJFRQWURORIWKHFRQYHUVDWLRQOLNH+H\

                 \RX UHQRWRQSUREDWLRQRUSDUROHULJKW"1R'R\RXKDYHDQ\ZHDSRQV"1RWKLQJ

                 2ND\, PJRLQJWRPDNHVXUH\RXKDYHQRWKLQJ$UH\RXVXUH\RXKDYHQRWKLQJ"

                 +H VOLNH1R6ROLNH, PJRLQJWRPDNHVXUH\RXGRQ WKDYHDQ\ZHDSRQV5LJKW"

                 +H VOLNH1R&RRO*RDKHDG,KDYHQRWKLQJ,MXVWKDYHDSLSHDQGKHZDVWHOOLQJ

                 PH$OOULJKW&RRO

                         ,UHPHPEHUUHDFKLQJRYHUWRKLVZDLVWEDQGIURPEHKLQGZLWKP\ULJKWKDQG,

                UHDFKHGRYHUDOOWKHZD\WRWKHOHIWDQG,VWDUWHGVZHHSLQJKLVZDLVWEDQGDQG,WRRNP\

                ILQJHULQEHWZHHQKLVKLVSDQWVRUKLVZKDWHYHUKHKDGRQ,UHPHPEHUVZHHSLQJ

                DQGWKDW VMXVWZKHUHKHMXVWSRSSHGXSRXWRIQRZKHUH2XWRIQRZKHUHRXWRI

                QRZKHUHKHMXVWZHQW,GRQ WNQRZKRZKHGLGLWEXWKHMXVW\DQNHGKLVDUPVRIIRIP\

                JULS+HHQGHGXSVZLQJLQJZLWKKLVERG\FDXVLQJPHWRORVHJULSRIKLVDUPV,MXVW

                UHPHPEHUKLPWXUQLQJDURXQGDQGMXVWSXQFKLQJPHULJKWLQWKHLQWKHWHPSOHDUHD

                DQG

                         48,17(52'LGKHFDWFK\RXJRRG"

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                H[SODLQLQJWRKLPWKDW, YHEHHQKLWLQWKHKHDGEHIRUHDQG, PSUHWW\JRRGDW\RXNQRZ

                WDNLQJSXQFKHVEXWWKLVJX\KLWPHSUHWW\KDUG,IHOWLWDQGP\NQHHVIHOWERWKRIP\

                NQHHVEXFNOHG,IHOWZKHQKHSXQFKHGPHRQWKHOHIWRQWKHOHIWVLGHRIP\WHPSOH

                P\KHDGZHQWWRWKHULJKW,IHOWFUDFNLQJLQP\QHFN7KHQ,MXVWKHDUGDULQJLQJVRXQG

                LQP\OHIWHDUDQGWKHQ,VWDUWHGVHHLQJEOXUUHGRQP\OHIWVLGHLPPHGLDWHO\DQG,




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                 UHPHPEHUMXVWJRLQJOLNHLWZHQWSLWFKEODFNDQGIDVW,WZDVOLNHDIDVWUHDFWLRQ,

                 ZHQWSLWFKEODFNDQGWKHQVQDSSHGRXWRILWDQG,UHPHPEHUWHOOLQJP\VHOIZKDWWKHIXFN

                 MXVWKDSSHQHG"$QG,UHPHPEHUJHWWLQJSXQFKHGDJDLQ,UHPHPEHUWU\LQJWRWKURZD

                 SXQFKEXWDWWKDWSRLQW,ZDV,IHOW,ZDVIDOOLQJEHFDXVHP\NQHHV,IHOWZHDNIURP

                 P\P\ORZHUOHJV,GRQ WNQRZLI,ZDVIDOOLQJEXW,UHPHPEHUKROGLQJRQWRKLPOLNH

                 JUDEELQJKLPOLNHEHDUKXJJLQJEHDUKXJJLQJKLPOLNHLQKLVVWRPDFKDUHD:KHQ,

                 GLGWKDW":HHQGHGXSOLNHLQWKHIURQWE\WKHSXVKEDUV"

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                          6$$9('5$:KHQ,HQGHGXSGRLQJWKDW,HQGHGXSIHHOLQJWKHJXQRQZLWK

                P\ULJKWKDQG,IHOWWKDWJXQEXWLWZDV,FRXOGWHOOEHFDXVHRIWKH

                         48,17(527KHKDQGOH"

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                RIGHWDLOLQWRLW7KHUH VDORWLW VOLNHDWKLFNJULS

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                UHPHPEHUWU\LQJWRSXOOLWRXWEXW,FRXOGQ WJHWLWRXWEHFDXVH,GRQ WNQRZEXWWKHUH

                ZDV

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                         6$$9('5$2YHUP\P\KDQG

                         48,17(522YHU\RXUKDQGDQG\RXUKDQGZDVRYHUKLVFORWKHV"

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                      6$$9('5$,KDGVOLJKWFRQWDFWZLWK

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                      6$$9('5$,WKLQNLWZDVKLVSDQWV7KHZD\KLVVKLUWZDVEDJJ\DQGVR,

                UHPHPEHUKXJJLQJKLPDQG,HQGHGXSIHHOLQJOLNHP\WKXPERQWKHJXQ

                      48,17(522ND\

                      6$$9('5$$QGWKHQWKHUHVWRIWKHOLNHP\ILQJHUV":HUHZUDSSHGDURXQG

                DQG,UHPHPEHUJUDEELQJRQWRLWEXWLWZDVOLNHKLVFORWKHVRQWKHIRXUILQJHUV

                      48,17(525LJKW

                       6$$9('5$%XWKHFLQFKHGGRZQDQGKHHQGHGXSVSLQQLQJDQGKHWXUQHGRQ

               PHDQGWKDW VZKHQ,GLVHQJDJHG,VWDUWHGWDNLQJDIHZVWHSVWRWKHOHIW,ZDVWKLQNLQJ

               FRYHUDQGKHVWDUWHGWRUXQEXWZKHQKHUDQKHORRNHGDWPHDQGKHKHZDVWU\LQJWR

               OLNHSXOOLWRXW,UHPHPEHUKHZDVKHZDVKROGLQJKLVVKLUWRQKLVOHIWKDQGWU\LQJWR

               SXOOLWRXW,GRQ WNQRZLIKHZDVVWUXJJOLQJWRJHWLWRXWEXWKHORRNHGDWPHDQG,MXVW

               ,NHSWWDONLQJWRKLP,IHOWWKDWIXFNLQJ

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               JUDEELQJWKHJXQ,NQRZLWZDVWKHJXQ$QGKHZDVVWUXJJOLQJWRSXOOLWRXW

                     48,17(52:KDWGLG\RXGR"

                     6$$9('5$,KDGDOUHDG\GUDZQRQKLPDQG,ZDVMXVW,GUDZ,GUHZRQ

               KLP,ZDVORRNLQJDWKLP,ZDVUXQQLQJWRZDUGVOLNHFRYHU7KDW VZKHQKHWXUQHGDQG

               ZKHQKHGLGWKDWPRYHPHQW,GLGQ WWDNHDFKDQFH

                     48,17(52'LG\RX\HOO"




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                      6$$9('5$,ZRXOGWHOOKLP,UHPHPEHU\HOOLQJ,FDQ WUHPHPEHUEXW,

                UHPHPEHU,ZDV\HOOLQJVRPHWKLQJ,MXVWFDQ WUHPHPEHU(YHU\WKLQJZHQWOLNHVLOHQW

                $IWHU,JRWKLWHYHU\WKLQJZHQWVLOHQW,UHPHPEHUP\SDUWQHULVVFUHDPLQJLQWRWKHUDGLR

                EXW,FRXOGQ WKHDUZKDWVKHZDVVD\LQJ/LNH,VDLGWKHJX\WXUQHGDURXQG2QFHKH

                WXUQHGDURXQGKHORRNHGDWPHDQGWKDWORRNLQKLVH\HV,FRXOGMXVWWHOO

                      48,17(52:KDWGLG\RXWKLQNKHZDVJRLQJWRGR"

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                     6$$9('5$1R

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               ZRXOGKDYHJRWWHQVKRWDQGKHZDVFORVHLWZRXOGKDYHJRWPHJRRG

                     48,17(52<RX UHVD\LQJ\RXVDZKLVIDFH"

                     6$$9('5$,VDZKLVIDFHH[SUHVVLRQDQGLWORRNHGOLNH,FDQ WH[SODLQLWVLU

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                      48,17(52:KHQ\RXSXOO\RXUZHDSRQZKHQ\RXPDNHWKHGHFLVLRQWRILUH

                KRZPDQ\WLPHVGR\RXWKLQN\RXILUHG"

                      6$$9('5$,WKLQN,ILUHGWKUHHRUIRXUWKUHHRUIRXUVKRWV7KDW VZKDW,

                UHPHPEHU,UHPHPEHUMXVWSXOOLQJWKHWULJJHUWKUHHRUIRXUWLPHVXQWLOXQWLOKHIHOOWR

                IHOOWRWKHJURXQGDQG,ZDVDEOHWRVHHKLVKDQGV

                     48,17(52:KHQ\RXILUHGZKHUHLI\RXFDQWHOOPHZKHUH\RXWKLQN\RX

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               OLNH,ZDVWKLQNLQJ,ZDVVWLOOWKLQNLQJWRFRYHUWDNHFRYHUGXGH7DNHFRYHU,

               UHPHPEHUZDONLQJRYHUWRZDUGVOLNH

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                      6$$9('5$7KHILJKWVWDUWHGKHUH+HSXQFKHGPHKHUH7KHVWUXJJOH

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                ZDVWRJHWEHKLQGWKHGRRU

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                     48,17(522ND\$QG\RXVDLG\RX\RX UHGLVWLQFWO\VD\LQJVRPHWKLQJEXW

                     6$$9('5$,FDQ WUHPHPEHUZKDW,VDLGEXW,UHPHPEHUWHOOLQJKLP

               VRPHWKLQJ,MXVWFDQ WUHPHPEHU

                     48,17(52'LGKHHYHUVD\DQ\WKLQJWR\RXWKDW\RXFDQUHFDOO"

                     6$$9('5$,FDQ WUHPHPEHU,W VMXVWDELJOLNHLWKDSSHQHGVRIDVW+H

               ORRNHGDWPHDQGKHORRNHGDWP\SDUWQHUDQGWKHQWKLVZKROHWLPHKHKHZDV

               PDNLQJWKRVHH[DJJHUDWHGPRYHPHQWVOLNHSXOOLQJLWRXW,ZDVOLNHGXGHWKLVJX\ V

               JRQQDKH VJRQQDNLOOPHVR,KDGWRILUH

                     48,17(52$QG\RXVD\\RXILUHGWKUHHWRIRXUVKRWV"

                     6$$9('5$<HVVLU




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                      6$$9('5$+HIDOOVWRWKHJURXQG,GLGWDNHFRYHUEHKLQGWKHWKHGRRU

                IUDPHDQGWKHQ

                      48,17(527KHGULYHU VVLGHGRRUZDVRSHQRUGLG\RXRSHQLW"

                      6$$9('5$,WZDVRSHQ,WZDVRSHQ,WRRNFRYHUEHKLQGWKHUHDQG,KHOG

                KLPDWJXQSRLQWDQG

                      48,17(52'LGKHGURSWKHJURXQGRUGLGKHWU\WRNHHSUXQQLQJ"

                      6$$9('5$+HQR+HWULHGWRNHHSUXQQLQJ,WKLQNKHVWXPEOHGIRUZDUG

                KHVWXPEOHGIRUZDUGDQGKHGLGOLNHDUROO+HUROOHGRQWRWKHJURXQGDQGIRUVRPH

               UHDVRQKHKHOGRQWRKLVVKLUWWKLVZKROHWLPH,UHPHPEHUWKLVYLYLGO\:LWKKLVOHIW

               KDQGKHKHOGRQWRKLVVKLUWDQGKHKDGLWDQGKHZDVOLNH,GRQ WNQRZLIKHZDV

               FRQYXOVLQJEXWRUOLNH,GRQ WNQRZKRZWRVD\LWEXW

                     48,17(52&RQYXOVLQJLVULJKW

                     6$$9('5$<HDK

                     48,17(52,PHDQZDVKHPRYLQJWZLWFKLQJ"

                     6$$9('5$<HDK6RKLVDUPVZDVWZLWFKLQJDQGKHZDVKHKDGDILUPJULS

               RQKLVKDQGRQKLVVKLUWDQGWKHQVORZO\EXWVXUHO\KLVVKLUWDQGKLVKDQGVWDUWHG

               FRPLQJXSDQGLWWHQVHGXSDQGKHVWDUWHGORFNLQJ+HSXWKLVRZQVKLUWRYHUKLVKHDG

               DQGKHVWDUWHGOLNHFRQYXOVLQJDQGWKHQKLVDUPKHOHWJRDQGOLNHKLVDUPVWDUWHG

               FRPLQJGRZQLQZDUGVDQGKHVWDUWHGFRQYXOVLQJDJDLQDQGWKHQKLVVKLUWZDVSXWRYHU

               KLVKHDG,GRQ WNQRZ

                     48,17(52$WDQ\SRLQWLQWLPHZDVKHDEOHWRSXOOWKHJXQRXWDQGDQG

               SRLQWLQDQ\GLUHFWLRQ"




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                       6$$9('5$,GLGQ WVHHLWEHLQJSRLQWHGDWPHEXWKDG,JLYHQKLPDFKDQFHKH

                ZRXOGKDYHKHZRXOGKDYHSRLQWHGLWDWPH

                       48,17(52&RXOG\RXVHHZKDWFRORUWKHJXQZDVDWWKDWSRLQWRUDWDQ\

                SRLQW"

                       6$$9('5$1R

                       48,17(522ND\$QG

                       6$$9('5$, PJHWWLQJOLNHVQDSVKRWVLQP\KHDGRIOLNHEODFNEXW,GRQ WNQRZ

                ,WKLQNWKDW VLW

                       48,17(52$OOULJKW6RIURP\RXUSRLQWRIYLHZREYLRXVO\\RXIHOWWKHJXQ

               <RXNQHZWKHUHZDVDJXQ"

                      6$$9('5$<HV

                      48,17(52$QGKHZDVPDNLQJHIIRUWVWRWDNHLWRXW"

                      6$$9('5$8KKXK

                      48,17(52%XWKHQHYHUFOHDUHGWKHSDQWVRUGLGKHFOHDUKLVFORWKLQJRXWDQG

               WRKLVERG\"

                      6$$9('5$,GRQ WUHPHPEHU,UHPHPEHUKLPKHZDVOLNHVWUXJJOLQJ,

               GRQ WNQRZLILWZDVFDXJKWLQEHWZHHQKLVSDQWVRUVRPHWKLQJEXW,UHPHPEHUKHZDV

               GRLQJWKLVOLNH\DQNLQJ

                      48,17(526RKHZDV\DQNLQJDWLW"

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                      48,17(52+HZDVWU\LQJWRSXOOLWRXW"

                      6$$9('5$<HV

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                      -$5$0,//$7KHRQO\TXHVWLRQ,KDYHLVZKHQ\RXLQLWLDOO\ZHUHVZHHSLQJ

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                      6$$9('5$1R

                      -$5$0,//$&RUUHFW"2ND\

                      6$$9('5$)LUVWWLPH

                      -$5$0,//$6RWKDW VZKDW,ZDQWWRJHWFOHDU6R\RXLQLWLDOO\GLGWKHVZHHS

                DQGWKHQ\RXEURXJKWKLPEDFNWRWKHSDWUROFDU"

                      6$$9('5$<HV

                      -$5$0,//$<RXGLGDQRWKHUVZHHSDQGWKDW VZKHQ\RX

                     6$$9('5$,ZDV\HV,VWDUWHGIURPWKHOHIWVLGHDQGULJKWZKHUH,JRW

               DERXWKLVOLNHOHIWIURQWRUQHDUKLVEHOO\EXWWRQWKDW VZKHQKHSXVKHGRIIDQGKHVWDUWHG

               EHIRUH,HYHQJRWWRWKHULJKWVLGH

                     -$5$0,//$$QGWKHQDJDLQ\RXFRXOGFOHDUO\WHOOWKDWZDVDJXQ"

                     6$$9('5$<HV,NQHZWKDWZDVDJXQ

                     -$5$0,//$$QGWKDW VEDVHGRQ\RXUWUDLQLQJH[SHULHQFH"<HDK6RQR

               GRXEW"

                     6$$9('5$, OOWHOO\RXSHUFHQWWKDW VDJXQ

                     48,17(526RWKHILUVWVZHHSLVULJKWRXWVLGHWKHFDU"

                     6$$9('5$<HV

                     48,17(52<RXGLGQ WIHHODQ\WKLQJ"

                     6$$9('5$1R

                     48,17(527KHVHFRQGZDVLVWKHUH VDQRWKHUVZHHSRIWKLVIURQW

               ZDLVWEDQG"

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                      6$$9('5$7KH\ZHUHORZVRWKHILUVWWLPH,ZHQWWKURXJKWKHZDLVWEXW,GLGQ W

                IHHODQ\WKLQJRQWKHDFWXDOZDLVW

                      48,17(52$WWKDWSRLQW\RXIHOWVRPHWKLQJ"

                      6$$9('5$$WWKHWKHVHFRQGWKH

                      48,17(527KHVHFRQGVZHHS"

                     6$$9('5$1R7KHVHFRQGVZHHS,GLGQ WIHHODQ\WKLQJ

                     48,17(527KDW VZKHQKHWXUQHGRQ\RXDQGKHSXQFKHG\RX"

                     6$$9('5$+HWXUQHGRQPHDQGKHSXQFKHGPH

                     48,17(522ND\$OOULJKW

                     6$$9('5$7KDW VZKHQ,EHDUKXJJHGKLP

                     48,17(52$QGWKDW VZKHUH,WKLQNWKHTXHVWLRQNLQGRIWKUHZPHRIIWKDWLW V

               QRWRQWKHVHFRQGVZHHSEHFDXVHWKDW VZKHQKHDVVDXOWHG\RX"

                     6$$9('5$<HV

                     48,17(522UKHWXUQHGDQGSXQFKHG\RX,W VQRWXQWLO\RXWU\WRGRWKH

               UHYHUVHEHDUKXJ

                     6$$9('5$<HV

                     48,17(52IURPEHKLQGWKDW\RXIHOWWKLVJXQ"

                     6$$9('5$<HV

                     48,17(522ND\7KDW VZKDW

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                ZKHQ\RXGLG\RXKDYHGLG\RXUXQ"7DNHDQ\VWHSVWRZDUGVKLPWRFDWFKKLP

                DIWHUKHSXQFKHG\RX"2UGLG\RXOXQJHDWKLP"2U

                      6$$9('5$,UHPHPEHUMXVWKXJJLQJKLPDWWKHULJKWZKHUHKHSXQFKHGPH"

                ,UHPHPEHULQJKXJJLQJKLPDQGOLNH,VDLG,,GRQ WNQRZLI,ZDVKXJJLQJKLPWROLNH

                NHHSKLPEDFNRULW VEHFDXVH,ZDVVWXPEOLQJEXWZHHQGHGXSLQWKHPLGGOHRIWKHLQ

                IURQWRIWKHFDU

                      48,17(52,QIURQWRIWKHFDU"$QGWKDW VZKHQ\RXIHOWZKHQ\RXNQHZ

                H[DFWO\ZKDWLWZDV"

                     6$$9('5$<HV

                     48,17(527KHUHZDVDJXQLQWKDWZDLVWEDQG"

                     6$$9('5$<HV

                     48,17(52$QGDWVRPHSRLQWKH VDEOHWRWREUHDNIUHHIURP\RXUJULS"

                     6$$9('5$<HV

                     48,17(52$QGKHKHGRHVDWXUQLQJWRZDUGV\RXDQGKH VUHDFKLQJLQWRWKH

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                     48,17(52$QGWKDW VZKHQ\RXIHOWWKDW\RXUOLYHZDVLQGDQJHU"

                     6$$9('5$<HV

                     48,17(52$QG\RXILUHGWKUHHWRIRXUVKRWV"

                     6$$9('5$<HV

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                ZDQWHGWR,UHPHPEHUJUDEELQJP\UDGLRDQG,ZDQWHGWRSXWVWXIIRXW,MXVW,IRUJRW

                DERXWZKHUH,ZDVDW,OLNHHYHU\WKLQJDQG,ZDVWHOOLQJKLPXVXDOO\ZKHQ,GR

                WUDIILFVWRSV,DPDOZD\VWHOOLQJP\VHOIZKDWVWUHHW, PRQVR,FRXOGUHPHPEHUEHFDXVH

                , YHKDGSHRSOHUXQIURPPH, YHKDGGHSXW\LQYROYHGLQDILJKWDQGWKDW VWKHILUVWWKLQJ,

                UHPHPEHUEHFDXVH, YHDOZD\V,DOZD\VUHSHDWWKHVWUHHWDQG,UHPHPEHUEHLQJDWWKH

                GRRUIUDPHRIWKLVWKLVFDUDQG,UHPHPEHUWHOOLQJP\VHOI*HUKDUGW*HUKDUGW<HDK

                *HUKDUGW)RUVRPHUHDVRQLWDOOZHQWRXWWKHZLQGRZDQG,MXVW,ZDVOLNHVWDULQJDW

                WKLVZKROHWKLQJDQGOLNHMXVWLWZDVFUD]\/LNH,,ZDVMXVWWKLQNLQJ, PDOLYH, P

               DOLYH<RXNQRZ"

                     48,17(52:RXOG\RXVD\\RXZHUHGLVRULHQWHGIURPVWLOODWWKDWSRLQW"

                     6$$9('5$<HV,ZDV%HFDXVH,UHPHPEHUOLNH,VDLG,UHPHPEHUORRNLQJ

               DWP\SDUWQHUDQGWKHQ, PH[SODLQLQJWRKLP,QRUPDOO\ZRUNDRQHPDQXQLWDRQH

               PDQFDUVR, PDOZD\VXVHGWREHLQJE\P\VHOI:KHQZHZHUHLQYROYHGLQWKLVLQWKLV

               VWUXJJOHLQWKLVILJKW,WRWDOWKDWDOOZHQWRXWWKHZLQGRZ,WKRXJKW,ZDVE\P\VHOI

               WKLVZKROHWLPH,HYHQIRUJRWDERXWP\SDUWQHU,IRUJRWVKHZDVWKHUH,MXVW

               UHPHPEHUKHUEHLQJRQP\SHULSKHUDOYLVLRQEXW,MXVWP\EUDLQZRXOGQ WDQDO\]HLW,W

               ZRXOGQ WLWZRXOGQ WSXWLWWKURXJKP\KHDGWKDWLWZRXOGQ WUHFRJQL]HWKDWKH\,

               KDYHDSDUWQHUKHUHZLWKPH

                     48,17(52+DYH\RXHYHUEHHQNQRFNHGRXWEHIRUH"

                     6$$9('5$<HV,KDYH

                     48,17(52:DVGR\RXWKLQNWKDW\RXZHUHPD\EHLQWKHSURFHVVRIEHLQJ

               NQRFNHGRXWRURUGLG\RXEODQNRXWIRUDVHFRQG"




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                      6$$9('5$/LNH,VDLGZKHQKHSXQFKHGPHP\QHFNZHQWWRWKHULJKW,

                ZHQWOLNHEODFNIRUDTXLFNVHFRQG/LNHLWZDVVRTXLFN,WZHQWHYHU\WKLQJZHQW

                EODFN,UHPHPEHUOLNHJRLQJEDFNZDUGV,UHPHPEHUOLNHP\P\NQHHVZHUH

                      48,17(52<RXIHOW\RXUNQHHVEXFNOH"

                      6$$9('5$<HDK

                      48,17(52:KHQ\RXJHWNQRFNHGRXW\RXNLQGRIOLNH

                      6$$9('5$<HDK%XW,GLGQ WJRGRZQWRWKHJURXQG,GLGQ W,GLGQ WJR

                .2, YHEHHQ.2 GEHIRUHEXWWKLVWKLVZDVQ WWKDWW\SHRI.27KLVZDVOLNHOLNH,

                ZDVWHOOLQJKLPKDG,EHHQKLWDOLWWOHELWKDUGHU,ZRXOGKDYHEHHQNQRFNHGRXW

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                     48,17(52$QGDQG\RXVD\DVHFRQGVKRWDVHFRQGSXQFKZDVWR

               ZKHUH"

                     6$$9('5$,FDQ WUHPHPEHUEXW,UHPHPEHUKLPVZLQJLQJWZLFH

                     48,17(52$QGKHFDXJKWRQHJRRGRQH"

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                     6$$9('5$,GRQ WNQRZLIKHKLWPHZLWKVRPHWKLQJRULWZDVKLVKDQG,GRQ W

               NQRZZKDWEXWPDQWKDWWKLQJZDVKDUG7KDWZDVP\OHIWWHPSOHDUHD

                     48,17(52<HDK2ND\$QGVRVRWKHJX\LVGRZQ"<RXGLGQ WSXWRXW

               WKHWUDIILF"

                     6$$9('5$1R%HFDXVH,UHPHPEHUP\SDUWQHU

                     48,17(52<RXUSDUWQHUGLG"

                     6$$9('5$ZDVOLNHSXWWLQJRXWUDGLRWUDIILFEXWOLNH,ZDV




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                         48,17(52$QGZKDWKDSSHQVQH[W"

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                WRWKHEDFN7KDWZDVLW7KHVHUJHDQWWHOOVPH$UH\RXDOOULJKW",ZDVOLNH1R

                         48,17(52$WVRPHSRLQWVRPHERG\PDGHFRQWDFWZLWKWKLVJX\:HUH\RX

                SDUWRIWKDWFRQWDFWWHDP"

                         6$$9('5$1R,ZDVQRW

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                         48,17(52$QGREYLRXVO\)LUHUROOVXSSDUDPHGLFVWUHDWWKHJX\DQGWKH\

               WUDQVSRUWKLPWRWKHKRVSLWDO'LG\RXUHFHLYHDQ\LQMXULHV"

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                        48,17(52:KDWGLGWKH\WHOO\RX"

                        6$$9('5$7KHGRFWRUVDLG,VXIIHUHGDFRQWXVLRQQRFRQFXVVLRQ

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                        6$$9('5$$PLQRUFRQFXVVLRQ         

                        48,17(526RWKDW VDUHVXOWRIEHLQJSXQFKHG"

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                        48,17(52:KHQWKH\WUHDWHG\RXGLGWKH\GLGWKH\ZLSH\RXGRZQRU

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                      48,17(52$OOULJKW$QG\RXZHUHEURXJKWREYLRXVO\WRWKHKRVSLWDODQG

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                      48,17(527RZKHUHZH UHLQWHUYLHZLQJ\RXQRZ"

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               WDNHWKLVFRXUVHRIDFWLRQZRXOG\RXIHHO\RXZRXOGKDYHEHHQVKRWRULQMXUHGRUNLOOHG"

                     6$$9('5$<HDK$EVROXWHO\, POLNHWKLQNLQJDERXWZKHQ,ZDVLQWKDW

               URRP,ZDVUHKHDUVLQJWKLVZKROHWKLQJRUQRWUHKHDUVLQJEXWMXVWWKLQNLQJDERXW

               HYHU\WKLQJWKDWKDSSHQHGDQGLW VOLNH,ZRXOGKDYHEHHQJRQH

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                     6$$9('5$,ZRXOGKDYHEHHQGHDGKDGLW\HDK

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               RUDWWKDWSRLQW\RXVDZLWLQKLVIDFHDQGKHKDGWR\RXGR\RXWKLQNKHKDGPDGH

               KLVGHFLVLRQ"

                     6$$9('5$<HDK+HZDVGHWHUPLQHG

                     48,17(522ND\

                     6$$9('5$+HKDGWKDWIDFHOLNHKHZDVGHWHUPLQHG+HNQHZZKDWKH

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                URXQGFRXQW2ND\"

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                6DDYHGUDLVZHDULQJKLV/RV$QJHOHV&RXQW\6KHULII V'HSDUWPHQWORQJVOHHYHXQLIRUP

                ZLWKVKRXOGHUSDWFKHVRQERWKVLGHVFOHDUO\YLVLEOHLWVD\V/RV$QJHOHV&RXQW\

               6KHULII V'HSDUWPHQW+H VDOVRZHDULQJDVL[SRLQW/$&RXQW\6KHULII VEDGJHVWDURQ

               KLVOHIWVLGHRIKLVFKHVW0RYLQJWRWKHULJKWLQWKHPLGGOHKHKDVD0RWRURODUDGLRPLF

               0RYLQJWRWKHULJKWRIWKDWKHLVZHDULQJDQ(DVW/$6KHULII V6WDWLRQODSHOSLQDQGMXVW

               WRWKHULJKWRIWKDWLVKLVQDPHWDJZKLFKFOHDUO\LVYLVLEOHLWVD\V6DDYHGUD+HLVDOVR

               ZHDULQJKLV/RV$QJHOHV&RXQW\6KHULII V'HSDUWPHQWJUHHQXQLIRUPSDQWVDQG

               KH VDOVRZHDULQJEODFNERRWV2ND\1RZZH OOGHVFULEH\RXUEHOW

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                     48,17(526WDUWZLWKWKHEXFNOHLQDFORFNZLVH

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               WKDWLVDSHSSHUVSUD\SRXFKZLWKDSHSSHUVSUD\LQVLGH0RYLQJIXUWKHUZHKDYHD

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                KLVSLVWROZKLFKLVDQ0 3IXOOVL]H$QGWKHQ

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               EUDVVEXWWRQV$QGWKHQPRYLQJIXUWKHUZHKDYHDQRWKHUKDQGFXIISRXFKZLWKDQRWKHU

               KDQGFXIILQVLGHDQGWKHQWXUQDURXQGIRUPH$OOULJKW'LUHFWO\QH[WWRWKDWLVD

               IODVKOLJKWDKDQGKHOGIODVKOLJKW'LUHFWO\QH[WWRWKDWLVD0RWRURODKDQGKHOGUDGLRDQG

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                     48,17(52$QGZHDOVRKDYHVHQLRUFULPLQDOLVW"

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               ZHDSRQDQGJLYHLWWR0DUYLQ

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                QXPEHULVJRLQJWREH+36DQGLWLVHTXLSSHGZLWKD

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                UHQGHUWKHJXQVDIH, OOHPSW\WKHPDJD]LQH$OOULJKW7KHJXQLVQRZUHQGHUHGVDIH

                7KHUHZDVRQHOLYHDPPXQLWLRQEXOOHWLQWKHFKDPEHU,WLVDPLOOLPHWHUKHDGVWDPSHG

                OHWPHVHHKHUHPP/XJHU)&$QGWKHQWKHUH\RXJR$OOULJKW, PJRLQJWR

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